                Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page1 of 45



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10
                                     UNITED STATES DISTRICT COURT
11
                                   NORTHERN DISTRICT OF CALIFORNIA
12
                                              SAN JOSE DIVISION
13

14   UNITED STATES OF AMERICA,                        )   Case No. CR-15-00226-BLF
                                                      )
15           Plaintiff,                               )   PARTIES’ JOINT PROPOSED JURY
                                                      )   INSTRUCTIONS
16      v.                                            )
                                                      )   Trial Date:   July 20, 2015
17   DOUGLAS YORK,                                    )   Time:         9:00 a.m.
                                                      )   Courtroom:    Hon. Beth Labson Freeman
18           Defendant.                               )
                                                      )
19
             The United States, by and through Special Assistant United States Attorney Brianna Penna, and
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     the defendant Douglas Storms York, by and through Assistant Federal Public Defender Graham Archer
21
     submit this joint set of proposed jury instructions. There are five instructions in dispute. Depending on
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     the evidence at trial, as well as government’s superseding indictment, additional instructions may be
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     required and leave is respectfully requested to include additional instructions as may become
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     appropriate.
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     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                                 1
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              Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page2 of 45



 1               PRELIMINARY, GENERAL, AND CONCLUDING INSTRUCTIONS

 2 NINTH CIRCUIT
   MODEL JURY
 3 NO.                  INSTRUCTIONS       DESCRIPTION

 4 1                    1.1          DUTY OF JURY

 5 2                    1.2          Disputed- Government Offered-
                                     THE CHARGEBPRESUMPTION OF INNOCENCE
 6
     2                               Disputed- Defense Offered
 7                                   THE CHARGEBPRESUMPTION OF INNOCENCE
 8 3                    1.3          WHAT IS EVIDENCE
 9 4                    1.4          WHAT IS NOT EVIDENCE
10 5                    1.5          DIRECT AND CIRCUMSTANTIAL EVIDENCE
11 6                    1.6          RULING ON OBJECTIONS
12 7                    1.7          CREDIBILITY OF WITNESSES
13 8                    1.8          CONDUCT OF THE JURY
14 9                    1.9          NO TRANSCRIPT AVAILABLE TO JURY
15 10                   1.10         TAKING NOTES
16 11                   1.11         OUTLINE OF TRIAL
17 12                   2.1          CAUTIONARY INSTRUCTIONBFIRST RECESS
18 13                   2.2          BENCH CONFERENCES AND RECESSES
19 14                   2.4          STIPULATIONS OF FACT
20 15                   2.7          TRANSCRIPT OF RECORDINGS
21 16                   3.1          DUTIES OF JURY TO FIND FACTS AND FOLLOW LAW
22 17                   3.2          CHARGE AGAINST DEF. NOT EVIDENCE/PRESUMPTION
                                     OF INNOCENCE/BURDEN OF PROOF
23
     18                 3.3          Disputed- Government Offered-
24                                   DEFENDANT’S DECISION NOT TO TESTIFY
25
     18                              Disputed- Defense Offered-
26                                   DEFENDANT’S DECISION NOT TO TESTIFY

27 19                   3.4          Disputed- Government Offered-
                                     DEFENDANT’S DECISION TO TESTIFY
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     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                             2
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page3 of 45



 1 19                                     Disputed- Defense Offered-
                                          DEFENDANT’S DECISION NOT TO TESTIFY
 2
     20                    3.5            Disputed- Government Offered-
 3
                                          REASONABLE DOUBT DEFINED
 4
     20                                   Disputed- Defense Offered-
 5                                        PRESUMPTION OF INNOCENCE/REASONABLE DOUBT

 6 21                      3.6            WHAT IS EVIDENCE
 7 22                      3.7            WHAT IS NOT EVIDENCE
 8 23                      3.8            DIRECT AND CIRCUMSTANTIAL EVIDENCE
 9 24                      3.9            CREDIBILITY OF WITNESSES
10 25                      3.10           ACTIVITIES NOT CHARGED
11 26                      4.1            STATEMENTS BY THE DEFENDANT
12 27                      4.14           OPINION EVIDENCE, EXPERT WITNESS
13 28                      8.5            Disputed- Government Offered
                                          ELEMENTS OF THE OFFENSE
14

15
     28                                   Disputed- Defense Offered
16                                        ELEMENTS OF THE OFFENSE

17 29                      7.1            DUTY TO DELIBERATE

18 30                      7.2            CONSIDERATION OF EVIDENCE

19 31                      7.3            USE OF NOTES

20 32                      7.4            JURY CONSIDERATION OF PUNISHMENT

21 33                      7.5            VERDICT FORM

22 34                      7.6            COMMUNICATION WITH COURT

23
   The following proposed instructions may be applicable. Depending on the evidence at trial, additional
24 instructions may be required and leave is respectfully requested to include additional instructions as may
   become appropriate:
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26                         2.3            STIPULATED TESTIMONY

27                         2.5            JUDICIAL NOTICE

28                         2.10           OTHER ACTS OF THE DEFENDANT
     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                                3
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              Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page4 of 45



 1
                        2.11         EVIDENCE FOR A LIMITED PURPOSE
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 3
                        3.11         SEPARATE CONSIDERATION OF MULTIPLE COUNTS
 4
                        4.3          OTHER CRIMES, WRONGS, OR ACTS OF THE DEFENDANT
 5
                        4.4          CHARACTER OF THE DEFENDANT
 6
                        4.6          IMPEACHMENT, PRIOR CONVICTION OF DEFENDANT
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 8                      4.7          CHARACTER OF WITNESS FOR TRUTHFULLNESS

 9                      4.8          IMPEACHMENT EVIDENCE
10                      4.13         MISSING WITNESS
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     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                             4
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                Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page5 of 45



 1                                    STIPULATED INSTRUCTION NO. 1
                                            RE: DUTY OF JURY
 2
            Jurors: You now are the jury in this case, and I want to take a few minutes to tell you something
 3
     about your duties as jurors and to give you some preliminary instructions. At the end of the trial I will
 4
     give you more detailed [written] instructions that will control your deliberations. When you deliberate,
 5
     it will be your duty to weigh and to evaluate all the evidence received in the case and, in that process, to
 6
     decide the facts. To the facts as you find them, you will apply the law as I give it to you, whether you
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     agree with the law or not. You must decide the case solely on the evidence and the law before you and
 8
     must not be influenced by any personal likes or dislikes, opinions, prejudices, or sympathy. Please do
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     not take anything I may say or do during the trial as indicating what I think of the evidence or what your
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     verdict should be that is entirely up to you.
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28 the Ninth Circuit, ' 1.1 [2010 Edition - West Publishing Co.]

     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                                   5
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page6 of 45



 1                              DISPUTED INSTRUCTION NO. 2
                      RE: THE CHARGE – THE PRESUMPTION OF INNOCENCE
 2                                GOVERNMENT OFFERED
 3

 4          This is a criminal case brought by the United States government. The government charges the

 5 defendant with False Impersonation of a Federal Officer or Employee. The charges against the

 6 defendant are contained in the indictment. The indictment simply describes the charge[s] the

 7 government brings against the defendant. The indictment is not evidence and does not prove anything.

 8          The defendant has pleaded not guilty to the charges and is presumed innocent unless and until

 9 the government proves the defendant guilty beyond a reasonable doubt. In addition, the defendant has
10 the right to remain silent and never has to prove innocence or to present any evidence.

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27 Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
   the Ninth Circuit, ' 1.2 [2010 Edition - West Publishing Co.]
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     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                                6
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page7 of 45



 1                              DISPUTED INSTRUCTION NO. 2
                      RE: THE CHARGE – THE PRESUMPTION OF INNOCENCE
 2                                   DEFENSE OFFERED
 3

 4         This is a criminal case brought by the United States government. The government charges Mr.

 5 York by indictment with False Impersonation of an employee of the United States. The indictment is

 6 simply the description of the charge made by the government against Mr. York; it is not evidence of

 7 anything.

 8         Mr. York has pleaded not guilty to the charge and is presumed innocent unless and until proved

 9 guilty beyond a reasonable doubt. Mr. York has the right to remain silent and never has to prove
10 innocence or present any evidence. The government always carries the burden of proof beyond a

11 reasonable doubt

12         In order to prove that the Mr. York is guilty of false impersonation of an employee of the United

13 States, the government must prove each of the following elements beyond a reasonable doubt:

14

15         First, Mr. York falsely pretended to be an employee of the United States, and;

16         Second, Mr. York acted in such a manner as an employee of the United States.

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28 NINTH CIRCUIT MODEL JURY INSTRUCTION, 8.50 (2010); 18 U.S.C. § 912.

     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                               7
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page8 of 45



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 2                                   STIPULATED INSTRUCTION NO. 3
                                         RE: WHAT IS EVIDENCE
 3
     The evidence you are to consider in deciding what the facts are consists of:
 4

 5          (1) the sworn testimony of any witness; and

 6          (2) the exhibits which are received in evidence; and

 7          (3) any facts to which the parties agree.
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28 the Ninth Circuit, ' 1.3 [2010 Edition - West Publishing Co.]

     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                                    8
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                   Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page9 of 45



 1                                   STIPULATED INSTRUCTION NO. 4
                                        RE: WHAT IS NOT EVIDENCE
 2
     The following things are not evidence, and you must not consider them as evidence in deciding the facts
 3
     of this case:
 4
             (1)      statements and arguments of the attorneys;
 5
             (2)      questions and objections of the attorneys;
 6
             (3)      testimony that I instruct you to disregard; and
 7
             (4)      anything you may see or hear when the court is not in session even if what you see or
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     hear is done or said by one of the parties or by one of the witnesses.
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27 Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
   the Ninth Circuit, ' 1.4 [2010 Edition - West Publishing Co.]
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     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                                    9
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page10 of 45



 1                                 STIPULATED INSTRUCTION NO. 5
                            RE: DIRECT AND CIRCUMSTANTIAL EVIDENCE
 2

 3          Evidence may be direct or circumstantial. Direct evidence is direct proof of a fact, such as
 4 testimony by a witness about what that witness personally saw or heard or did. Circumstantial evidence

 5 is indirect evidence, that is, it is proof of one or more facts from which one can find another fact.

 6

 7          You are to consider both direct and circumstantial evidence. Either can be used to prove any fact.
 8 The law makes no distinction between the weight to be given to either direct or circumstantial evidence.

 9 It is for you to decide how much weight to give to any evidence.
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28 the Ninth Circuit, ' 1.5 [2010 Edition - West Publishing Co.]

     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          10
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page11 of 45



 1                                    STIPULATED INSTRUCTION NO. 6
                                        RE: RULING ON OBJECTIONS
 2
            There are rules of evidence that control what can be received in evidence. When a lawyer asks a
 3
     question or offers an exhibit in evidence and a lawyer on the other side thinks that it is not permitted by
 4
     the rules of evidence, that lawyer may object. If I overrule the objection, the question may be answered
 5
     or the exhibit received. If I sustain the objection, the question cannot be answered, or the exhibit cannot
 6
     be received. Whenever I sustain an objection to a question, you must ignore the question and must not
 7
     guess what the answer would have been.
 8

 9
            Sometimes I may order that evidence be stricken from the record and that you disregard or
10
     ignore the evidence. That means that when you are deciding the case, you must not consider the
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     evidence that I told you to disregard.
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   Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
28 the Ninth Circuit, ' 1.6 [2010 Edition - West Publishing Co.]

     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          11
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                Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page12 of 45



 1                                    STIPULATED INSTRUCTION NO. 7
                                      RE: CREDIBILITY OF WITNESSES
 2
             In deciding the facts in this case, you may have to decide which testimony to believe and which
 3
     testimony not to believe. You may believe everything a witness says, or part of it, or none of it.
 4
             In considering the testimony of any witness, you may take into account:
 5
             (1)     the witness’s opportunity and ability to see or hear or know the things testified to;
 6
             (2)     the witness’s memory;
 7
             (3)     the witness’s manner while testifying;
 8
             (4)     the witness’s interest in the outcome of the case, if any;
 9
             (5)     the witness’s bias or prejudice, if any;
10
             (6)     whether other evidence contradicted the witness’s testimony;
11
             (7)     the reasonableness of the witness’s testimony in light of all the evidence; and
12
             (8)     any other factors that bear on believability.
13
     The weight of the evidence as to a fact does not necessarily depend on the number of witnesses who
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     testify about it.
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27 Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
   the Ninth Circuit, ' 1.7 [2010 Edition - West Publishing Co.]
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     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          12
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page13 of 45



 1                                    STIPULATED INSTRUCTION NO. 8
                                        RE: CONDUCT OF THE JURY
 2
            I will now say a few words about your conduct as jurors.
 3
            First, keep an open mind throughout the trial, and do not decide what the verdict should be until
 4
     you and your fellow jurors have completed your deliberations at the end of the case.
 5
            Second, because you must decide this case based only on the evidence received in the case and
 6
     on my instructions as to the law that applies, you must not be exposed to any other information about the
 7
     case or to the issues it involves during the course of your jury duty. Thus, until the end of the case or
 8
     unless I tell you otherwise:
 9
            Do not communicate with anyone in any way and do not let anyone else communicate with you
10
            in any way about the merits of the case or anything to do with it. This includes discussing the
11
            case in person, in writing, by phone or electronic means, via email, text messaging, or any
12
            Internet chat room, blog, website or other feature. This applies to communicating with your
13
            fellow jurors until I give you the case for deliberation, and it applies to communicating with
14
            everyone else including your family members, your employer, the media or press, and the people
15
            involved in the trial, although you may notify your family and your employer that you have been
16
            seated as a juror in the case. But, if you are asked or approached in any way about your jury
17
            service or anything about this case, you must respond that you have been ordered not to discuss
18
            the matter and to report the contact to the court.
19

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            Because you will receive all the evidence and legal instruction you properly may consider to
21
            return a verdict: do not read, watch, or listen to any news or media accounts or commentary
22
            about the case or anything to do with it; do not do any research, such as consulting dictionaries,
23
            searching the Internet or using other reference materials; and do not make any investigation or in
24
            any other way try to learn about the case on your own.
25

26
            The law requires these restrictions to ensure the parties have a fair trial based on the same
27
     evidence that each party has had an opportunity to address. A juror who violates these restrictions
28

     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          13
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page14 of 45



 1 jeopardizes the fairness of these proceedings, and a mistrial could result that would require the entire

 2 trial process to start over. If any juror is exposed to any outside information, please notify the court

 3 immediately.

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   the Ninth Circuit, ' 1.8 [2010 Edition - West Publishing Co.]
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     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          14
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page15 of 45



 1                                   STIPULATED INSTRUCTION NO. 9
                                 RE: NO TRANSCRIPT AVAILABLE TO JURY
 2
            At the end of the trial you will have to make your decision based on what you recall of the
 3
     evidence. You will not have a written transcript of the trial. I urge you to pay close attention to the
 4
     testimony as it is given.
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28 the Ninth Circuit, ' 1.9 [2010 Edition - West Publishing Co.]

     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          15
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                 Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page16 of 45



 1                                    STIPULATED INSTRUCTION NO. 10
                                            RE: TAKING NOTES
 2
               If you wish, you may take notes to help you remember the evidence. If you do take notes, please
 3
     keep them to yourself until you and your fellow jurors go to the jury room to decide the case. Do not let
 4
     note-taking distract you from being attentive. When you leave court for recesses, your notes should be
 5
     left in the courtroom. No one will read your notes.
 6

 7
               Whether or not you take notes, you should rely on your own memory of the evidence. Notes are
 8
     only to assist your memory. You should not be overly influenced by your notes or those of your fellow
 9
     jurors.
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27 Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
   the Ninth Circuit, ' 1.10 [2010 Edition - West Publishing Co.]
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     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          16
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page17 of 45



 1                                   STIPULATED INSTRUCTION NO. 11
                                          RE: OUTLINE OF TRIAL
 2
            The next phase of the trial will now begin. First, each side may make an opening statement. An
 3
     opening statement is not evidence. It is simply an outline to help you understand what that party expects
 4
     the evidence will show. A party is not required to make an opening statement.
 5
            The government will then present evidence and counsel for the defendant may cross-examine.
 6
     Then, if the defendant chooses to offer evidence, counsel for the government may cross-examine.
 7
            After the evidence has been presented, [I will instruct you on the law that applies to the case and
 8
     the attorneys will make closing arguments] [the attorneys will make closing arguments and I will
 9
     instruct you on the law that applies to the case].
10
            After that, you will go to the jury room to deliberate on your verdict.
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27 Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
   the Ninth Circuit, ' 1.11 [2010 Edition - West Publishing Co.]
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     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          17
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page18 of 45



 1                                STIPULATED INSTRUCTION NO. 12
                            RE: CAUTIONARY INSTRUCTIONCFIRST RECESS
 2
            We are about to take our first break. Remember, until the trial is over, do not discuss this case
 3
     with anyone, including your fellow jurors, members of your family, people involved in the trial, or
 4
     anyone else, and do not allow others to discuss the case with you. This includes discussing the case in
 5
     Internet chat rooms or through Internet blogs, Internet bulletin boards, emails or text messaging. If
 6
     anyone tries to communicate with you about the case, please let me know about it immediately. Do not
 7
     read, watch, or listen to any news reports or other accounts about the trial or anyone associated with it,
 8
     including any online information. Do not do any research, such as consulting dictionaries, searching the
 9
     Internet or using other reference materials, and do not make any investigation about the case on your
10
     own. Finally, keep an open mind until all the evidence has been presented and you have heard the
11
     arguments of counsel, my instructions on the law, and the views of your fellow jurors.
12

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            If you need to speak with me about anything, simply give a signed note to the clerk to give to
14
     me.
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   the Ninth Circuit, ' 2.1 [2010 Edition - West Publishing Co.]
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     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          18
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                 Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page19 of 45



 1                                   STIPULATED INSTRUCTION NO. 13
                                 RE: BENCH CONFERENCES AND RECESSES
 2
               From time to time during the trial, it may become necessary for me to take up legal matters with
 3
     the attorneys privately, either by having a conference at the bench or, when necessary, by calling a
 4
     recess.
 5
               We will do what we can to keep the number and length of these conferences to a minimum. I
 6
     may not always grant an attorney=s request for a conference.
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   the Ninth Circuit, ' 2.2 [2010 Edition - West Publishing Co.]
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     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          19
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page20 of 45



 1                                  STIPULATED INSTRUCTION NO. 14
                                       RE: STIPULATIONS OF FACT
 2
            The parties have agreed to certain facts that have been stated to you. You should therefore treat
 3
     these facts as having been proved.
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27 the Ninth Circuit, ' 2.4 [2010 Edition - West Publishing Co.]

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     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          20
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page21 of 45



 1                                    STIPULATED INSTRUCTION NO.
                                     RE: TRANSCRIPT OF RECORDING
 2
            You heard recordings that were received in evidence. Transcript of those recordings were
 3
     provided to you to help you identify speakers and to help you decide what the speakers were saying.
 4
     Remember that the recordings are the evidence, not the transcripts. If you heard something different
 5
     from what appeared in those transcripts, what you heard is controlling. Because the transcripts will not
 6
     be available to you during your deliberations, if you feel the need to hear the recordings again, let us
 7
     know and we can replay them for you in open court.
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28 the Ninth Circuit, ' 2.7 [2010 Edition - West Publishing Co.]

     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          21
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page22 of 45



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 2                               STIPULATED INSTRUCTION NO. 16
                       RE: DUTIES OF JURY TO FIND FACTS AND FOLLOW LAW
 3
            Members of the jury, now that you have heard all the evidence, it is my duty to instruct you on
 4
     the law that applies to this case. A copy of these instructions will be available in the jury room for you
 5
     to consult.
 6
            It is your duty to weigh and to evaluate all the evidence received in the case and, in that process,
 7
     to decide the facts. It is also your duty to apply the law as I give it to you to the facts as you find them,
 8
     whether you agree with the law or not. You must decide the case solely on the evidence and the law and
 9
     must not be influenced by any personal likes or dislikes, opinions, prejudices, or sympathy. You will
10
     recall that you took an oath promising to do so at the beginning of the case.
11
            You must follow all these instructions and not single out some and ignore others; they are all
12
     important. Please do not read into these instructions or into anything I may have said or done any
13
     suggestion as to what verdict you should returnCthat is a matter entirely up to you.
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   Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
28 the Ninth Circuit, ' 3.1 [2010 Edition - West Publishing Co.]

     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          22
30
              Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page23 of 45



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 2                         STIPULATED INSTRUCTION NO. 17
            RE: CHARGE AGAINST DEFENDANT NOT EVIDENCECPRESUMPTION OF
 3                         INNOCENCECBURDEN OF PROOF
 4          The indictment is not evidence. The defendant has pleaded not guilty to the charges. The
 5 defendant is presumed to be innocent unless and until the government proves the defendant guilty

 6 beyond a reasonable doubt. In addition, the defendant does not have to testify or present any evidence to

 7 prove innocence. The government has the burden of proving every element of the charges beyond a

 8 reasonable doubt.

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   Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
28 the Ninth Circuit, ' 3.2 [2010 Edition - West Publishing Co.]

     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          23
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page24 of 45



 1
                              DISPUTED INSTRUCTION NO. 18 [If applicable]
 2                           RE: DEFENDANT=S DECISION NOT TO TESTIFY
                                      GOVERNMENT OFFERED
 3
            A defendant in a criminal case has a constitutional right not to testify. You may not draw any
 4
     inference of any kind from the fact that the defendant did not testify.
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   Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
28 the Ninth Circuit, ' 3.3 [2010 Edition - West Publishing Co.]

     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          24
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page25 of 45



 1
                              DISPUTED INSTRUCTION NO. 18 [If applicable]
 2                           RE: DEFENDANT=S DECISION NOT TO TESTIFY
                                         DEFENSE OFFERED
 3
             Mr. York did not testify (or present evidence) in this case. In a criminal case, a defendant has
 4
      a constitutional right not to testify or to present any evidence. The burden of proof remains with the
 5

 6    government throughout the entire trial and never shifts to the defendant. The defendant is never

 7    required to prove that he is innocent. You must not attach any significance to the fact that Mr. York
 8    did not testify. You must not draw any adverse inference against him because he did not take the
 9
      witness stand. Do not consider, for any reason at all, the fact that he did not testify. Do not discuss
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      that fact during your deliberations or let it influence your decision in any way.
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27    United States v. Castaneda, 94 F.3d 592, 596 (9th Cir. 1996); Carter v. Kentucky, 450 U.S. 288
      (1981); Shults v. Whitley, 982 F.2d 361 (9th Cir. 1992); NINTH CIRCUIT MODEL JURY
28    INSTRUCTION, 3.3 (2010) (MODIFIED)
     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          25
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page26 of 45



 1

 2                           DISPUTED INSTRUCTION NO. 19 [If applicable]
                              RE: DEFENDANT=S DECISION TO TESTIFY
 3                                   GOVERNMENT OFFERED
 4
            The defendant has testified. You should treat this testimony just as you would the testimony of
 5
     any other witness.
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28 Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
   the Ninth Circuit, ' 3.4 [2010 Edition - West Publishing Co.]
     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          26
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              Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page27 of 45



 1
                             DISPUTED INSTRUCTION NO. 19 [If applicable]
 2                          RE: DEFENDANT=S DECISION NOT TO TESTIFY
                                        DEFENSE OFFERED
 3

 4           Mr. York has testified. You should treat his testimony just as you would the
 5
      testimony of any other witness. You should not disregard or disbelieve his testimony simply
 6
      because he is charged as a defendant in this case.
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      NINTH CIRCUIT MODEL JURY INSTRUCTION, 3.4 (2010)(modified).
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     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          27
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                 Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page28 of 45



 1
                                      DISPUTED INSTRUCTION NO. 20
 2                                  RE: REASONABLE DOUBTCDEFINED
                                         GOVERNMENT OFFERED
 3
            Proof beyond a reasonable doubt is proof that leaves you firmly convinced the defendant is
 4
     guilty. It is not required that the government prove guilt beyond all possible doubt.
 5
            A reasonable doubt is a doubt based upon reason and common sense and is not based purely on
 6
     speculation. It may arise from a careful and impartial consideration of all the evidence, or from lack of
 7
     evidence.
 8
            If after a careful and impartial consideration of all the evidence, you are not convinced beyond a
 9
     reasonable doubt that the defendant is guilty, it is your duty to find the defendant not guilty. On the
10
     other hand, if after a careful and impartial consideration of all the evidence, you are convinced beyond a
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     reasonable doubt that the defendant is guilty, it is your duty to find the defendant guilty.
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28 Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
   the Ninth Circuit, ' 3.5 [2010 Edition - West Publishing Co.]
     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          28
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                 Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page29 of 45



 1
                                       DISPUTED INSTRUCTION NO. 20
 2                                   RE: REASONABLE DOUBTCDEFINED
                                            DEFENSE OFFERED
 3

 4
               You are instructed that you must presume Mr. York to be innocent of the crimes charged. Thus
 5
     Mr. York, although accused of a crime in the indictment, begins the trial with a “clean slate”-with no
 6
     evidence against him. The indictment, as you already know, is not evidence of any kind. Mr. York is
 7
     not on trial for any act or crime not contained in the indictment. The law permits nothing but legal
 8
     evidence presented before the jury in court to be considered in support of any charge against Mr. York.
 9
     The presumption of innocence alone, therefore, is sufficient for you to find Mr. York not guilty.
10
               The burden is always on the government to prove guilt beyond a reasonable doubt. The burden
11
     never shifts to Mr. York for the law never imposes upon the Defendant in a criminal case the burden or
12
     duty of calling any witnesses, producing any evidence, or taking the stand to testify. Mr. York is not
13
     even obligated to produce any evidence by cross-examining the witness for the government.
14
               It is required that the government prove guilt beyond a reasonable doubt. A reasonable doubt is
15
     doubt based upon reason and common sense-the kind of doubt that would make a reasonable person
16
     hesitate to act. It may arise from a careful and impartial consideration of all the evidence, or from lack
17
     of evidence. Proof beyond a reasonable doubt is proof that leaves you firmly convinced Mr. York is
18
     guilty.
19
               Unless the government proves, beyond a reasonable doubt, that Mr. York has committed each
20
     and every element of the offense charged in the indictment, you must find him not guilty of the offense.
21
     If the jury views the evidence in the case as permitting either of two conclusions-one of innocence, and
22
     the other guilty-the jury must, of course adopt the conclusion of innocence.
23

24

25
   The Ninth Circuit has expressly approved a reasonable doubt instruction that informs the jury that the
26 jury must be “firmly convinced” of the defendant’s guilt. United States v. Velasquez, 980 F.2d 1275,
   1278 (9th Cir. 1992); Victor v. Nebraska, 511 U.S. 1, 5 (1994); see also Lisenbee v. Henry, 166 F.3d
27 997, 999 (9th Cir. 1999); NINTH CIRCUIT MANUAL OF MODEL JURY INSTRUCTIONS 3.5
   (2010).
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     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          29
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              Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page30 of 45



 1

 2                                 STIPULATED INSTRUCTION NO. 21
                                       RE: WHAT IS EVIDENCE
 3
           The evidence you are to consider in deciding what the facts are consists of:
 4
           (1)    the sworn testimony of any witness; and
 5
           (2)    the exhibits received in evidence; and
 6
           (3)    any facts to which the parties have agreed.
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28 Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
   the Ninth Circuit, ' 3.6 [2010 Edition - West Publishing Co.]
     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          30
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              Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page31 of 45



 1

 2                                   STIPULATED INSTRUCTION NO. 22
                                       RE: WHAT IS NOT EVIDENCE
 3
            In reaching your verdict you may consider only the testimony and exhibits received in evidence.
 4
     The following things are not evidence and you may not consider them in deciding what the facts are:
 5

 6
            1. Questions, statements, objections, and arguments by the lawyers are not evidence. The
 7
            lawyers are not witnesses. Although you must consider a lawyer’s questions to understand the
 8
            answers of a witness, the lawyer’s questions are not evidence. Similarly, what the lawyers have
 9
            said in their opening statements, [will say in their] closing arguments and at other times is
10
            intended to help you interpret the evidence, but it is not evidence. If the facts as you remember
11
            them differ from the way the lawyers state them, your memory of them controls.
12

13
            2. Any testimony that I have excluded, stricken, or instructed you to disregard is not evidence.
14
            [In addition, some evidence was received only for a limited purpose; when I have instructed you
15
            to consider certain evidence in a limited way, you must do so.]
16

17
            3. Anything you may have seen or heard when the court was not in session is not evidence. You
18
            are to decide the case solely on the evidence received at the trial.
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   Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
28 the Ninth Circuit, ' 3.7 [2010 Edition - West Publishing Co.]

     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          31
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page32 of 45



 1                                STIPULATED INSTRUCTION NO. 23
                             RE: DIRECT AND CIRCUMSTANTIAL EVIDENCE
 2
            Evidence may be direct or circumstantial. Direct evidence is direct proof of a fact, such as
 3
     testimony by a witness about what that witness personally saw or heard or did. Circumstantial evidence
 4
     is indirect evidence, that is, it is proof of one or more facts from which you can find another fact.
 5
            You are to consider both direct and circumstantial evidence. Either can be used to prove any
 6
     fact. The law makes no distinction between the weight to be given to either direct or circumstantial
 7
     evidence. It is for you to decide how much weight to give to any evidence.
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27 Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
   the Ninth Circuit, ' 3.8 [2010 Edition - West Publishing Co.]
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     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          32
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page33 of 45



 1                                   STIPULATED INSTRUCTION NO. 24
                                      RE: CREDIBILITY OF WITNESSES
 2
            In deciding the facts in this case, you may have to decide which testimony to believe and which
 3
     testimony not to believe. You may believe everything a witness says, or part of it, or none of it.
 4

 5
     In considering the testimony of any witness, you may take into account:
 6
     (1)    the witness’s opportunity and ability to see or hear or know the things testified to;
 7
     (2)    the witness’s memory;
 8
     (3)    the witness’s manner while testifying;
 9
     (4)    the witness’s interest in the outcome of the case, if any;
10
     (5)    the witness’s bias or prejudice, if any;
11
     (6)    whether other evidence contradicted the witness’s testimony;
12 (7)      the reasonableness of the witness’s testimony in light of all the evidence; and
13 (8)      any other factors that bear on believability.
14          The weight of the evidence as to a fact does not necessarily depend on the number of witnesses
15 who testify. What is important is how believable the witnesses were, and how much weight you think

16 their testimony deserves.

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   Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
28 the Ninth Circuit, ' 3.9 [2010 Edition - West Publishing Co.]

     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          33
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              Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page34 of 45



 1                                  STIPULATED INSTRUCTION NO. 25
                                     RE: ACTIVITIES NOT CHARGED
 2

 3          You are here only to determine whether the defendant is guilty or not guilty of the charges in the
 4 indictment. The defendant is not on trial for any conduct or offense not charged in the indictment.

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   Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
27 the Ninth Circuit, ' 3.10 [2010 Edition - West Publishing Co.]

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     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          34
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page35 of 45



 1                                 STIPULATED INSTRUCTION NO. 26
                                 RE: STATEMENTS BY THE DEFENDANT
 2
            You have heard testimony that the defendant made statements. It is for you to decide (1)
 3
     whether the defendant made the statements, and (2) if so, how much weight to give to them. In making
 4
     those decisions, you should consider all the evidence about the statements, including the circumstances
 5
     under which the defendant may have made them.
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     Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
     the Ninth Circuit, ' 4.1 [2010 Edition - West Publishing Co.]
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     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          35
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              Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page36 of 45



 1
                                  STIPULATED INSTRUCTION NO. 27
 2                            RE: OPINION EVIDENCE, EXPERT WITNESS
 3          You have heard testimony from persons who, because of education or experience, were
 4 permitted to state opinions and the reasons for their opinions.

 5          Such opinion testimony should be judged like any other testimony. You may accept it or reject
 6 it, and give it as much weight as you think it deserves, considering the witness’s education and

 7 experience, the reasons given for the opinion, and all the other evidence in the case.

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   Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
28 the Ninth Circuit, ' 4.14 [2010 Edition - West Publishing Co.]

     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          36
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page37 of 45



 1                         DISPUTED INSTRUCTION NO. 28
       RE: FALSE IMPERSONATION OF FEDERAL OFFICER OR EMPLOYEE – ELEMENTS
 2                            GOVERNMENT OFFERED
 3
            The defendant is charged in Count One of the Indictment with fraud while impersonating a
 4
     federal officer or employee in violation of Sections 912 of Title 18 of the United States Code. In order
 5
     to be found guilty of that charge, the government must prove each of the following elements beyond a
 6
     reasonable doubt:
 7
            First, that the defendant falsely pretended to be an officer or employee acting under the authority
 8
     of the United States Internal Revenue Service, and;
 9
            Second, the defendant acted as such.
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26 Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
   the Ninth Circuit, ' 8.50 [2010 Edition - West Publishing Co.]
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     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          37
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page38 of 45



 1                         DISPUTED INSTRUCTION NO. 28
       RE: FALSE IMPERSONATION OF FEDERAL OFFICER OR EMPLOYEE – ELEMENTS
 2                              DEFENSE OFFERED
 3
            Mr. York is charged in Count One of the Indictment with fraud while impersonating a federal
 4
     employee in violation of Title 18, section 912 of the United States Code.
 5

 6          In order for Mr. York to be found guilty of this charge, the government must prove each of the

 7 following elements beyond a reasonable doubt:

 8

 9          First, Mr. York falsely pretended to be an employee acting under the authority of the United
10
     States Internal Revenue Service;
11
            Second, Mr. York acted in such a manner as an employee of the United States Internal Revenue
12
     Service; and
13

14          Third, Mr. York acted with the intent to defraud.

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25    NINTH CIRCUIT MODEL JURY INSTRUCTION, 8.50 (2010) (MODIFIED); ** Mr. York requests the
      third element to preserve his right to appeal due to a Circuit split on the issue of intent to defraud.
26    See United States v. Tomsha-Miguel, 766 F.3d 1041,1050 (9th Cir. 2014) (holding there is no
      requirement for government to establish intent to defraud under 18 U.S.C. sec. 912, but noting
27    Circuit split on the issue).
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     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          38
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page39 of 45



 1
                                    STIPULATED INSTRUCTION NO. 29
 2                                      RE: DUTY TO DELIBERATE
 3
            When you begin your deliberations, elect one member of the jury as your foreperson who will
 4
     preside over the deliberations and speak for you here in court.
 5
            You will then discuss the case with your fellow jurors to reach agreement if you can do so. Your
 6
     verdict, whether guilty or not guilty, must be unanimous.
 7
            Each of you must decide the case for yourself, but you should do so only after you have
 8
     considered all the evidence, discussed it fully with the other jurors, and listened to the views of your
 9
     fellow jurors.
10
            Do not be afraid to change your opinion if the discussion persuades you that you should. But do
11
     not come to a decision simply because other jurors think it is right.
12
            It is important that you attempt to reach a unanimous verdict but, of course, only if each of you
13
     can do so after having made your own conscientious decision. Do not change an honest belief about the
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     weight and effect of the evidence simply to reach a verdict.
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   Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
28 the Ninth Circuit, ' 7.1 [2010 Edition - West Publishing Co.]

     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          39
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page40 of 45



 1
                               STIPULATED INSTRUCTION NO. 30
 2                  RE: CONSIDERATION OF EVIDENCECCONDUCT OF THE JURY
 3
            Because you must base your verdict only on the evidence received in the case and on these
 4
     instructions, I remind you that you must not be exposed to any other information about the case or to the
 5
     issues it involves. Except for discussing the case with your fellow jurors during your deliberations:
 6

 7
            Do not communicate with anyone in any way and do not let anyone else communicate with you
 8
     in any way about the merits of the case or anything to do with it. This includes discussing the case in
 9
     person, in writing, by phone or electronic means, via email, text messaging, or any Internet chat room,
10
     blog, website or other feature. This applies to communicating with your family members, your
11
     employer, the media or press, and the people involved in the trial. If you are asked or approached in any
12
     way about your jury service or anything about this case, you must respond that you have been ordered
13
     not to discuss the matter and to report the contact to the court.
14

15
            Do not read, watch, or listen to any news or media accounts or commentary about the case or
16
     anything to do with it; do not do any research, such as consulting dictionaries, searching the Internet or
17
     using other reference materials; and do not make any investigation or in any other way try to learn about
18
     the case on your own.
19

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            The law requires these restrictions to ensure the parties have a fair trial based on the same
21
     evidence that each party has had an opportunity to address. A juror who violates these restrictions
22
     jeopardizes the fairness of these proceedings, and a mistrial could result that would require the entire
23
     trial process to start over. If any juror is exposed to any outside information, please notify the court
24
     immediately.
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   Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
28 the Ninth Circuit, ' 7.2 [2010 Edition - West Publishing Co.]

     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          40
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page41 of 45



 1
                                    STIPULATED INSTRUCTION NO. 31
 2                                        RE: USE OF NOTES
 3
            Some of you have taken notes during the trial. Whether or not you took notes, you should rely
 4
     on your own memory of what was said. Notes are only to assist your memory. You should not be
 5
     overly influenced by your notes or those of your fellow jurors.
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   Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
28 the Ninth Circuit, ' 7.3 [2010 Edition - West Publishing Co.]

     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          41
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              Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page42 of 45



 1

 2                               STIPULATED INSTRUCTION NO. 32
                            RE: JURY CONSIDERATION OF PUNISHMENT
 3

 4         The punishment provided by law for this crime is for the court to decide. You may not consider
 5 punishment in deciding whether the government has proved its case against the defendant beyond a

 6 reasonable doubt.

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28 Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
   the Ninth Circuit, ' 7.4 [2010 Edition - West Publishing Co.]
     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          42
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               Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page43 of 45



 1

 2                                   STIPULATED INSTRUCTION NO. 33
                                           RE: VERDICT FORM
 3

 4          A verdict form has been prepared for you. [Explain verdict form as needed.] After you have
 5 reached unanimous agreement on a verdict, your foreperson should complete the verdict form according

 6 to your deliberations, sign and date it, and advise the [clerk] [bailiff] that you are ready to return to the

 7 courtroom.

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28 Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
   the Ninth Circuit, ' 7.5 [2010 Edition - West Publishing Co.]
     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          43
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              Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page44 of 45



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 2                                 STIPULATED INSTRUCTION NO. 34
                                  RE: COMMUNICATION WITH COURT
 3

 4          If it becomes necessary during your deliberations to communicate with me, you may send a note
 5 through the [clerk] [bailiff], signed by any one or more of you. No member of the jury should ever

 6 attempt to communicate with me except by a signed writing, and I will respond to the jury concerning

 7 the case only in writing or here in open court. If you send out a question, I will consult with the lawyers

 8 before answering it, which may take some time. You may continue your deliberations while waiting for

 9 the answer to any question. Remember that you are not to tell anyoneCincluding meChow the jury
10 stands, numerically or otherwise, on any question submitted to you, including the question of the guilt of

11 the defendant, until after you have reached a unanimous verdict or have been discharged.

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     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          44
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              Case5:15-cr-00226-EJD Document37 Filed07/09/15 Page45 of 45



 1 DATED: July 9, 2015                                Respectfully submitted,

 2                                                    MELINDA HAAG
                                                      United States Attorney
 3
                                                      _________/s/_______________
 4                                                    BRIANNA L. PENNA
                                                      JEFFREY SCHENK
 5                                                    Assistant United States Attorneys

 6 DATED: July 9, 2015                                _________/s/_______________
 7                                                    GRAHAM ARCHER
                                                      Assistant Federal Public Defender
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   Committee on Model Criminal Jury Instructions - Ninth Circuit, Manual of Model Jury Instructions for
18 the Ninth Circuit, ' 7.6 [2010 Edition - West Publishing Co.]

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     PARTIES’ JOINT PROPOSED JURY INSTRUCTIONS
     CR-15-00226-BLF                          45
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